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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and                                       Docket No.: _______(        )
GEICO CASUALTY COMPANY,

                                             Plaintiffs,
                                                                          Plaintiff Demands a Trial
              -against-                                                   by Jury

MOTION MEDICAL DIAGNOSTICS, P.C.,
RICHARD C. KOFFLER, M.D., SARI RAUCH
a/k/a SARI EDELMAN a/k/a SARI EDELMAN
RAUCH, JEFFREY RAUCH, and A.H.S.
MANAGEMENT & MARKETING COMPANY, INC.,

                                              Defendants.
--------------------------------------------------------------------X

                                                 COMPLAINT

         Plaintiffs Government Employees Insurance Company, GEICO Indemnity Company,

GEICO General Insurance Company and GEICO Casualty Company (collectively “GEICO” or

“Plaintiffs”), as and for their Complaint against the defendants, Motion Medical Diagnostics, P.C.,

Richard C. Koffler, M.D., Sari Rauch a/k/a Sari Edelman a/k/a Sari Edelman Rauch, Jeffrey Rauch
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and A.H.S. Management & Marketing Company, Inc. (collectively “Defendants”), hereby allege as

follows:

                                 NATURE OF THE ACTION

       1.      This action seeks to recover more than $702,900.00 that the Defendants wrongfully

obtained from GEICO, and further seeks to extinguish more than $2,230,000.00 in pending

fraudulent billing resulting from the Defendants’ submission of thousands of fraudulent charges

relating to medically unnecessary and otherwise non-reimbursable diagnostic services, specifically

bogus range of motion and muscle strength tests (“ROM/MT” or the “Fraudulent Services”) that

were purportedly rendered to individuals involved in automobile accidents and eligible for

coverage under policies of automobile insurance that were issued by GEICO (“Insureds”).

       2.      The Defendants submitted billing for the Fraudulent Services under the name of

Motion Medical Diagnostics P.C. (“Motion Medical PC”), a New York professional corporation

nominally owned on paper by Defendant Richard C. Koffler, M.D. (“Dr. Koffler”). Motion

Medical PC purports to be a legitimate medical professional corporation, but Dr. Koffler resides

in Florida, has not personally provided any medical services or treated patients through Motion

Medical PC, and has not truly owned and/or controlled Motion Medical PC.

       3.      Motion Medical PC instead operates under the illegal control of non-physicians

Jeffrey Rauch (“Jeffrey Rauch”) and Sari Rauch a/k/a Sari Edelman a/k/a Sari Edelman Rauch

(“Sari Rauch”), who together with A.H.S. Management & Marketing Company, Inc. (“AHS

Management & Marketing”) operate Motion Medical PC on a transient basis, providing no

legitimate or medically necessary services to the Insureds.




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       4.       The Defendants, using Motion Medical PC, initially exploited New York’s No-

Fault insurance system for financial gain by purportedly rendering the Fraudulent Services in the

form of medically unnecessary and illusory range of motion and muscle strength tests on patients

at the offices of other healthcare providers obtained through illegal fee-splitting and kickback

arrangements.    The Defendants more recently have continued their fraudulent scheme by

disguising Motion Medical PC’s reports for the Fraudulent Services with superficial but ultimately

meaningless information in a purposeful effort to circumvent recent reimbursement restrictions

regarding ROM/MT that were enacted to eliminate fraud and abuse.

       5.       By this action, GEICO seeks recovery of the substantial sums stolen from it by the

Defendants, along with a declaration that it is not legally obligated to pay reimbursement of more

than $2,230,000.00 in pending No-Fault insurance claims that have been submitted to GEICO by

or on behalf of Motion Medical PC, because:

                (i)     the Defendants submitted claims on behalf of Motion Medical PC for
                        Fraudulent Services that were not medically necessary and were provided
                        – to the extent that they were provided at all – pursuant to predetermined
                        fraudulent testing and billing protocols designed solely to financially
                        enrich the Defendants, rather than to treat or otherwise benefit Insureds;

                (ii)    Motion Medical PC is unlawfully owned and/or controlled by unlicensed
                        laypersons;

                (iii)   Motion Medical PC has been nominally owned on paper by a physician
                        who does not practice medicine through the professional corporation;

                (iv)    the Defendants engaged in illegal fee-splitting, kickback, and referral
                        arrangements as part of a scheme to defraud New York automobile
                        insurers; and

                (v)     the Defendants submitted claims on behalf of Motion Medical PC using
                        billing codes that misrepresented and exaggerated the types of services that
                        were purportedly rendered in order to: (i) inflate the charges submitted to




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                        GEICO; and (ii) purposely circumvent the fee schedule’s reimbursement
                        restrictions and prohibitions applicable to the Fraudulent Services.

       6.      The Defendants fall into the following categories:

               (i)     Motion Medical PC is a fraudulently incorporated New York professional
                       corporation through which the Fraudulent Services were purportedly
                       performed and billed to insurance companies, including GEICO.

               (ii)    Dr. Koffler is a licensed medical professional who falsely purports to own
                       and control Motion Medical PC in order to enable the submission of billing
                       for the Fraudulent Services through the name of Motion Medical PC.

               (iii)   Jeffrey Rauch and Sari Rauch are non-physicians who, using AHS
                       Management & Marketing (collectively the “Management Defendants”)
                       secretly and unlawfully control and derive economic benefit from Motion
                       Medical PC. Through their unlawful control of Motion Medical PC, the
                       Management Defendants conspired to pay kickbacks for patient referrals,
                       facilitated illegal fee-splitting and financial arrangements, and caused
                       Insureds to be subjected to the Fraudulent Services pursuant to a
                       predetermined fraudulent testing and billing protocol designed to maximize
                       profits without regard to genuine patient care.

       7.      As discussed further below, the Defendants at all relevant times herein have known

that: (i) the Fraudulent Services are not medically necessary and are provided – to the extent that

they are provided at all – pursuant to predetermined fraudulent protocols designed solely to

financially enrich the Defendants, rather than to treat or otherwise benefit Insureds; (ii) Motion

Medical PC is unlawfully owned and/or controlled by non-physicians; (iii) Motion Medical PC is

nominally owned on paper by Dr. Koffler, who does not practice medicine through the professional

corporation; (iv) the Defendants engage in illegal fee-splitting, kickback, and referral arrangements

as part of a scheme to defraud New York automobile insurers; (v) the Defendants use billing codes

that misrepresent and exaggerate the types of services purportedly rendered in order to inflate the

charges submitted to GEICO; and (vi) the Defendants purposefully misrepresent the Fraudulent




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Services in order to circumvent the reimbursement restrictions and prohibitions applicable to the

Fraudulent Services.

       8.      As such, the Defendants did not, and do not now have, any right to be compensated

for the Fraudulent Services that have been billed to GEICO through Motion Medical PC.

       9.      The chart annexed hereto as Exhibit “1” sets forth the fraudulent claims that have

been identified to date that the Defendants have submitted, or caused to be submitted, to GEICO.

       10.     The Defendants’ fraudulent scheme commenced in or around 2019 and continues

to the present day. As a result of the Defendants’ scheme, GEICO has incurred damages of more

than $702,900,00.

                                         THE PARTIES

I.     Plaintiffs

       11.     Plaintiffs Government Employees Insurance Company, GEICO Indemnity

Company, GEICO General Insurance Company and GEICO Casualty Company are Nebraska

corporations with their principal places of business in Chevy Chase, Maryland. GEICO is authorized

to conduct business and to issue automobile insurance policies in New York.

II.    Defendants

       12.     Defendant Motion Medical PC is a New York professional corporation fraudulently

incorporated on or about August 29, 2019 with its current principal place of business located at 44

Bethpage Road, Suite 3, Hicksville, New York, 11801.

       13.     Motion Medical PC is the vehicle through which the Defendants have submitted

fraudulent billing to GEICO and other insurers.




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       14.    Defendant Dr. Koffler resides in and is a citizen of Florida. Dr. Koffler was licensed

to practice medicine in New York on July 2, 1996, and purports to own Motion Medical PC.

       15.    Dr. Koffler previously was a named defendant in a federal affirmative fraud

litigation captioned GEICO Ins. Co., et al. v. Bi County Medical Diagnostics, et al., 2:18-cv-

03649(DRH)(ARL) (E.D.N.Y. 2018) (the “Bi County case”). The allegations in the Bi County

case were similar to those contained herein, in that Dr. Koffler was alleged to be the sham owner

of two medical professional corporations, Island Medical Diagnostics, PLLC and Apollo Medical

Diagnostics, PLLC, which operated similarly to Motion Medical PC and submitted fraudulent

billing for ROM/MT.

       16.    Defendant Sari Rauch resides in and is a citizen of New York and is the spouse of

Defendant Jeffrey Rauch. Sari Rauch is not a licensed medical doctor.

       17.    Defendant Jeffrey Rauch resides in and is a citizen of New York and is the spouse

of Defendant Sari Rauch. Jeffrey Rauch is a licensed chiropractor but is not and never has been a

licensed medical doctor.

       18.    Jeffrey Rauch was the subject of a disciplinary action brought by the New York

State Board of Regents in December 2007, in which he admitted to being convicted of insurance

fraud in the fifth degree. The Board of Regents imposed a one-month license suspension, a 23-

month stayed suspension, two years of probation, and a monetary penalty.

       19.    Defendant AHS Management & Marketing is a New York corporation incorporated

on or about December 4, 2018, with its current principal place of business located at 44 Bethpage

Road, Hicksville, New York, 11801.




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       20.     AHS Management & Marketing maintains its principal place of business in the

same office building as Motion Medical PC and is used by the Management Defendants to assist

with their illegal ownership and control of Motion Medical PC, and to siphon insurance profits

generated by Motion Medical PC to the Management Defendants.

                                 JURISDICTION AND VENUE

       21.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1332(a)(1) because the matter in controversy exceeds the sum or value of $75,000.00, exclusive

of interest and costs, and is between citizens of different states.

       22.     Pursuant to 28 U.S.C. § 1331, this Court also has jurisdiction over the claims

brought under 18 U.S.C. §§ 1961 et seq. (the Racketeer Influenced and Corrupt Organizations

(“RICO”) Act) because they arise under the laws of the United States. In addition, this Court has

supplemental jurisdiction over the subject matter of the claims asserted in this action pursuant to

28 U.S.C. § 1367.

       23.     Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern

District of New York is the District where a substantial amount of the activities forming the basis

of the Complaint occurred.

                        ALLEGATIONS COMMON TO ALL CLAIMS

I.     An Overview of the No-Fault Laws and Licensing Statutes

       24.     GEICO underwrites automobile insurance in New York.

       25.     New York’s No-Fault laws are designed to ensure that injured victims of motor

vehicle accidents have an efficient mechanism to pay for and receive the healthcare services that

they need. Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act (N.Y.




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Ins. Law §§ 5101, et seq.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R. §§

65, et seq.) (collectively referred to as the “No-Fault Laws”), automobile insurers are required to

provide Personal Injury Protection Benefits (“No-Fault Benefits”) to Insureds.

       26.     No-Fault Benefits include up to $50,000.00 per Insured for necessary expenses that

are incurred for healthcare goods and services.

       27.     An Insured can assign his or her right to No-Fault Benefits to the providers of

healthcare services in exchange for those services. Pursuant to a duly executed assignment, a

healthcare provider may submit claims directly to an insurance company within 45 days of the

date of service and receive payment for medically necessary services, using the claim form

required by the New York State Department of Insurance (known as a “Verification of Treatment

by Attending Physician or Other Provider of Health Service” or more commonly as an “NF-3”).

In the alternative, a healthcare provider may submit claims using the Health Care Financing

Administration insurance claim form (known as a “HCFA-1500” form).

       28.     In New York, claims for No-Fault Benefits are governed by the New York Workers’

Compensation Fee Schedule (i.e., the Fee Schedule).

       29.     When a healthcare provider submits a claim for No-Fault Benefits using the current

procedural terminology (“CPT”) codes set forth in the Fee Schedule, it represents that: (i) the

service described by the specific CPT code that is used was performed in a competent manner in

accordance with applicable laws and regulations; (ii) the service described by the specific CPT

code that is used was reasonable and medically necessary; and (iii) the service and the attendant

fee were not excessive.




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       30.     Pursuant to the No-Fault Laws, a healthcare provider is not eligible to bill for or to

collect No-Fault Benefits if it is unlawfully incorporated or fails to meet any New York State or local

licensing requirement necessary to provide the underlying services.

       31.     The implementing regulation adopted by the Superintendent of Insurance, 11

N.Y.C.R.R. § 65-3.16(a)(12) states, in pertinent part, as follows:

               A provider of health care services is not eligible for reimbursement
               under section 5102(a)(1) of the Insurance Law if the provider fails to
               meet any applicable New York State or local licensing requirement
               necessary to perform such service in New York … (emphasis added).

       32.     In State Farm Mut. Auto. Ins. Co. v. Mallela, 4 N.Y.3d 313, 320 (2005) and Andrew

Carothers, M.D., P.C. v. Progressive Ins. Co., 33 N.Y.3d 389 (2019), the New York Court of

Appeals made clear that (i) healthcare providers that fail to comply with material licensing

requirements are ineligible to collect No-Fault Benefits, and (ii) only licensed physicians may

practice medicine in New York because of the concern that unlicensed physicians are “not bound

by ethical rules that govern the quality of care delivered by a physician to a patient.”

       33.     In New York, only a licensed healthcare professional may: (i) practice the pertinent

healthcare profession; (ii) own and control a professional corporation authorized to operate a

professional healthcare practice; (iii) employ and supervise other healthcare professionals; and (iv)

absent statutory exceptions not applicable in this case, derive economic benefit from professional

healthcare services.

       34.     Unlicensed individuals may not: (i) practice the pertinent healthcare profession; (ii)

own or control a professional corporation authorized to operate a professional healthcare practice;

(iii) employ or supervise healthcare professionals; or (iv) absent statutory exceptions not applicable

in this case, derive economic benefit from professional healthcare services.




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        35.     Lawful licensure of a New York professional corporation requires that the owner(s)

 of the professional corporation be engaged in the practice of their authorized profession through their

 professional corporation. See New York Business Corporation Law § 1507(a).

        36.     Thus, the licensed medical professional owner(s) of a healthcare professional

 corporation must practice medicine through their healthcare professional corporation. The “practice

 of medicine” is defined as “diagnosing, treating, operating or prescribing for any human disease,

 pain, injury, deformity or physical condition.” New York Education Law § 6521.

        37.     New York law also prohibits licensed healthcare providers from paying or

 accepting payments (i.e., kickbacks) in exchange for patient referrals. See, e.g., New York

 Education Law §§ 6509-a, 6531.

        38.     Furthermore, pursuant to New York Education Law § 6512, § 6530 (11), (18), and

 (19), aiding and abetting an unlicensed person to practice a profession, offering any fee or

 consideration to a third party for the referral of a patient, and permitting any person not authorized

 to practice medicine to share in the fees for professional services is considered a crime and/or

 professional misconduct.

        39.     Pursuant to Education Law § 6509-a, a licensee shall not “directly or indirectly”

 request, receive, or participate in the division, transference, assignment, rebate, splitting, or

 refunding of a fee. Further, pursuant to 8 N.Y.C.R.R. § 29.1(b)(3), a licensee is prohibited from

 “directly or indirectly” offering, giving, soliciting, or receiving or agreeing to receive, any fee or

 other consideration to or from a third party for the referral of a patient or client or in connection

 with the performance of professional services. Pursuant to Education Law § 6530(19), a licensee

 shall not permit any person to share in fees for professional services.




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        40.     New York law also prohibits anyone from engaging in for profit, any business or

 service which in whole or in part includes the referring or recommending of persons to a physician,

 hospital, health-related facility, or dispensary for any form of medical care or treatment. See New

 York Public Health Law § 4501.

        41.     Therefore, under the No-Fault Laws, a healthcare provider is not eligible to receive

 No-Fault Benefits if it is fraudulently incorporated, fraudulently licensed, engages in unlawful fee-

 splitting, pays or receives unlawful kickbacks in exchange for patient referrals, shares fees for

 professional services with unlicensed persons, and/or if it is owned by licensed professionals who

 do not engage in the practice of their profession through their professional corporation.

        42.     Pursuant to New York Insurance Law § 403, the NF-3s and HCFA-1500 forms

 submitted by a healthcare provider to GEICO and to all other automobile insurers must be verified

 by the healthcare provider subject to the following warning:

                Any person who knowingly and with intent to defraud any insurance
                company or other person files an application for insurance or
                statement of claim containing any materially false information, or
                conceals for the purpose of misleading, information concerning any
                fact material thereto, commits a fraudulent insurance act, which is a
                crime.

 II.    The Defendants’ Fraudulent Scheme

        A.      An Overview of the Fraudulent Scheme

        43.     Beginning in or around 2019, and continuing uninterrupted through the present day,

 Dr. Koffler and the Management Defendants have colluded to orchestrate and execute a complex

 fraudulent scheme in which Motion Medical PC – owned on paper by Dr. Koffler, but actually

 illegally owned, controlled, and operated by the Management Defendants – has been used to bill

 GEICO and other New York automobile insurers millions of dollars in fraudulent billing for




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 medically unnecessary, illusory, and otherwise non-reimbursable services (i.e., the Fraudulent

 Services) resulting in the payment of No-Fault Benefits that the Defendants were never entitled to

 receive.

        44.     Motion Medical PC purports to be a legitimate medical professional corporation, but

 it operates on a transient basis, maintaining no stand-alone practice of its own, having no patients of

 its own, and providing no legitimate or medically necessary services to GEICO’s Insureds.

        45.     The Fraudulent Services billed through Motion Medical PC to GEICO, totaling more

 than $3.2 million billed to GEICO alone, consist of purported ROM/MT rendered to Insureds that is

 both unnecessary and provided – to the extent provided at all – pursuant to fraudulent and

 predetermined protocols designed solely to financially enrich the Defendants, rather than to treat,

 diagnose, or otherwise benefit Insureds.

        46.     The Management Defendants operate Motion Medical PC on an itinerant basis at a

 series of healthcare office clinics (collectively the “Clinics”) where they are provided access to

 Insureds who they can subject to the Fraudulent Services, in exchange for kickbacks or other

 financial incentives negotiated by the Defendants.

        47.     As described more fully below, the Defendants’ fraudulent scheme involves: (i) the

 use of Dr. Koffler’s license to illegally incorporate, own, and/or control Motion Medical PC; (ii)

 engaging in illegal referral, kickback, and/or fee-splitting arrangements; (iii) implementing a

 fraudulent testing and billing protocol designed to maximize profits rather than to benefit Insureds;

 (iv) using Motion Medical PC as a conduit to submit fraudulent No-Fault billing to GEICO and

 other New York automobile insurers pursuant to the predetermined fraudulent billing protocol;




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 and (v) using Motion Medical PC to egregiously circumvent the Fee Schedule’s reimbursement

 restrictions and prohibitions pursuant to the predetermined fraudulent billing protocol.

        B.      The Defendants’ Fraudulent Incorporation, Ownership, and Operation of
                Motion Medical PC

        48.     To effectuate their fraudulent scheme, the Management Defendants colluded with

 Dr. Koffler – a licensed physician – to have him serve as the nominal owner of a professional medical

 corporation so that they could incorporate Motion Medical PC to unlawfully submit fraudulent No-

 Fault billing to GEICO and other No-Fault insurers.

        49.      In order to circumvent New York licensing laws and induce the New York State

 Education Department into issuing a certificate of authority permitting Motion Medical PC to

 operate as a legitimately controlled healthcare professional corporation, the Management Defendants

 entered into a secret agreement with Dr. Koffler.

        50.     Specifically, in exchange for a designated salary or other form of compensation from

 the Management Defendants, Dr. Koffler agreed to falsely represent in the Certificate of

 Incorporation and other related filings with New York State that he was the true shareholder, director,

 and officer of Motion Medical PC, and that he truly owned, controlled, and practiced medicine

 through Motion Medical PC.

        51.     Dr. Koffler agreed to make these false representations knowing that the professional

 corporation would be used to submit fraudulent billing to insurers.

        52.     In furtherance of the scheme to submit billing for the Fraudulent Services, the

 Defendants caused Motion Medical PC to be incorporated in August 2019.




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         53.     Thereafter, the Defendants submitted billing to GEICO for the Fraudulent Services

 purportedly performed by and through Motion Medical PC.

         54.     Although Dr. Koffler has been documented as the record owner of Motion Medical

 PC on the Certificate of Incorporation and otherwise identified as the licensed professional

 controlling the professional corporation, Dr. Koffler has never exercised genuine ownership or

 control over Motion Medical PC.

         55.     At all relevant times herein, Dr. Koffler has resided in and spent most of his time in

 Florida.

         56.     Additionally, Dr. Koffler simultaneously has maintained at least six healthcare

 practices throughout Florida, Connecticut, and New York.

         57.     Dr. Koffler has never marketed Motion Medical PC to the general public or made

 any legitimate efforts of his own to attract patients on behalf of Motion Medical PC.

         58.     Dr. Koffler has never examined any patient on behalf of Motion Medical PC.

         59.     Dr. Koffler has never rendered any of the actual testing to any patient on behalf of

 Motion Medical PC.

         60.     Dr. Koffler has never visited any of the medical offices where Motion Medical PC

 purports to provide its testing services to patients.

         61.     Dr. Koffler has never discussed any diagnosis, treatment plan, or test results with any

 Insured or with any of the practitioners who allegedly ordered the Fraudulent Services from Motion

 Medical PC.

         62.     Dr. Koffler has never truly supervised or controlled the operations or management of

 Motion Medical PC.




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        63.     The Management Defendants have continuously exercised true ownership and

 control over Motion Medical PC and have used the façade of Motion Medical PC to engage in actions

 prohibited by law.

        64.     Throughout the course of Dr. Koffler’s relationship with the Management

 Defendants, all decision-making authority relating to the operation and management of Motion

 Medical PC has been vested entirely with the Management Defendants.

        65.     To conceal their true ownership and control of Motion Medical PC while

 simultaneously effectuating pervasive, total control over its operation and management, the

 Management Defendants arranged for Dr. Koffler to purport to “hire” Sari Rauch as the purported

 office manager and enter into various bogus “management,” “marketing” and/or other financial

 agreements, including an agreement with Jeffrey Rauch and AHS Management & Marketing.

        66.     The financial and other arrangements among Dr. Koffler, Motion Medical PC, Sari

 Rauch, Jeffrey Rauch, and AHS Management & Marketing are not legitimate, arms-length

 arrangements and call for exorbitant payments from Motion Medical PC to the Management

 Defendants in amounts that far exceed the fair market value for the alleged performance of the

 services by them.

        67.     In fact, AHS Management & Marketing uses the same building address as Motion

 Medical and receives substantial monies from Motion Medical PC all while Dr. Koffler has no

 genuine awareness of the purported particular “marketing” activities allegedly performed by AHS

 Management & Marketing for Motion Medical PC.

        68.     Dr. Koffler has never been the true sole shareholder and owner of Motion Medical

 PC. True ownership and control over Motion Medical PC has rested at all times entirely with the




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 Management Defendants, who use the façade of Motion Medical PC to do indirectly what they are

 forbidden from doing directly, namely to: (i) employ licensed health care professionals; (ii) control

 their practices; and (iii) charge for and derive an economic benefit from the medical services.

         69.     The Management Defendants, solely focused on profit rather than patient care,

 established predetermined testing protocols employed by Motion Medical PC.

         70.     The Management Defendants established the predetermined treatment protocols to

 facilitate billing for medically unnecessary, illusory and excessive diagnostic testing without

 regard for the actual medical needs of each individual Insured.

         71.     The Management Defendants’ ownership and control of Motion Medical PC

 includes the hiring and firing of employees.

         72.     For example, Sari Rauch and Jeffrey Rauch have hired at least two of their

 immediate family members as employees of Motion Medical PC.

         73.     The Management Defendants’ ownership and control of Motion Medical PC

 extends to control over the patient flow to Motion Medical PC. In fact, Motion Medical PC receives

 steady volumes of patients through no efforts of Dr. Koffler but rather through illegal kickback

 relationships established by the Management Defendants that allow Motion Medical PC to access

 the patient bases already established at the Clinics.

         74.     The Management Defendants, rather than Dr. Koffler, determine which Clinics

 Motion Medical PC operates from.

         75.     The Management Defendants direct Motion Medical PC’s employees, healthcare

 professionals, and/or technicians to travel to the Clinic locations to perform the Fraudulent Services.

         76.     The Clinics are located at, among others, the following addresses:




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               •   1 Fulton Avenue, Suite 11, Hempstead
               •   1308 Grand Avenue, Baldwin
               •   131 Old Country Road, Hicksville
               •   1386 Flatbush Avenue, Brooklyn
               •   139 North Central Avenue, Valley Stream
               •   1570 Old Country Road, Westbury
               •   160 Old Country Road, Riverhead
               •   17543 Hillside Avenue, Jamaica
               •   182 Main Street, Huntington
               •   195 Park Avenue, Bethpage
               •   2 Coraci Boulevard, Suite 13, Shirley
               •   2260 Hewlett Avenue, Merrick
               •   255 Broadway Avenue, Lynbrook
               •   260 Middle Country Road, Suite 7, Seldon
               •   2751 27th Street, Astoria
               •   2799 Route 112, Suite 5, Medford
               •   2805 Veterans Memorial Highway, Suite 8, Ronkonkoma
               •   301 Maple Avenue, Smithtown
               •   325 Merrick Avenue, Suite 3, East Meadow
               •   333 Broadway, Amityville
               •   44-20 Francis Lewis Boulevard, Bayside
               •   474 Fulton Avenue, Suite 102, Hempstead
               •   535 Broadhollow Road, Melville
               •   56A Motor Avenue, Farmingdale
               •   740 Veterans Memorial Highway, Suite 210, Hauppauge
               •   865 Cypress Avenue, Ridgewood
               •   94-11 Jamaica Avenue, Woodhaven

        77.    The Management Defendants’ decision-making authority also includes control over

 how the Fraudulent Services are billed to insurers – including GEICO – and who performs the

 billing services for Motion Medical PC.

        78.    The Management Defendants, rather than Dr. Koffler, created and control Motion

 Medical PC.

        79.    The Management Defendants, rather than Dr. Koffler, control the day-to-day

 operations of Motion Medical PC.




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         80.         The Management Defendants, rather than Dr. Koffler, control the treatment

 protocols, financial operations, and financial arrangements of Motion Medical PC, including its

 profits therefrom.

         81.         Dr. Koffler is unaware of fundamental operational aspects of Motion Medical PC,

 and is unfamiliar with numerous financial transactions appearing in the bank records of Motion

 Medical PC.

         82.         Moreover, Dr. Koffler does not truly control or maintain Motion Medical PC’s books

 or records.

         83.         Dr. Koffler does not truly direct and/or control the individuals or entities responsible

 for handling any aspect of Motion Medical PC’s financial affairs.

         84.         Dr. Koffler does not have his own patients and does virtually nothing that would be

 expected of an owner of a legitimate medical professional corporation to develop its reputation and

 attract patients.

         85.         In keeping with the fact that Dr. Koffler has no genuine ownership interest in or

 control over Motion Medical PC, Dr. Koffler does not actually practice medicine through Motion

 Medical PC as required by New York law, as further set forth below.

         86.         In sum, Dr. Koffler has been nothing more than a de facto employee of the

 Management Defendants, who at all relevant times have remained firmly in control of Motion

 Medical PC, including its operations, management, testing protocols, financial arrangements,

 hiring, firing, billing, and profits.




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        C.     Dr. Koffler’s Failure to Practice Medicine Through Motion Medical PC in
               Violation of New York Law

        87.    At all relevant times herein, Dr. Koffler has not actually practiced medicine or

 personally rendered any healthcare services to Insureds through Motion Medical PC.

        88.    Instead, the Fraudulent Services allegedly performed and billed through Motion

 Medical PC have been performed by other employees or independent contractors of Motion

 Medical PC.

        89.    New York Business Corporation Law § 1507 mandates that a licensed professional

 shareholder of a professional corporation be engaged in the practice of his or her profession

 through that professional corporation for it to be lawfully licensed. Section 1507 provides as

 follows:

               Issuance of shares

               A professional service corporation may issue shares only to
               individuals who are authorized by law to practice in this state a
               profession which such corporation is authorized to practice and who
               are or have been engaged in the practice of such profession in such
               corporation…or who will engage in the practice of such profession
               in such corporation within thirty days of the date such shares are
               issued…. All shares issued, agreements made, or proxies granted in
               violation of this section shall be void.

        90.    Legislative history confirms that a professional corporation’s putative professional-

 owner not only must be licensed to practice in the profession for which the corporation is

 authorized, but must also be engaged in the practice of such profession through the professional

 corporation. For example, in commenting upon the proposed amendment to Section 1507 in 1971,

 the State Education Department stated:

               This bill amends the Business Corporation Law in relation to the
               operation of professional service corporations. While this bill allows




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               more flexibility in the ownership and transfer of professional service
               corporation stock, it maintains the basic concept of restricting
               ownership to professionals working within the corporation.
               (Emphasis added).

 Similarly, the New York Department of State commented that:

               Section 1507 currently limits issuance of shares in such corporation
               to persons licensed by this State to practice the profession which the
               corporation is authorized to practice and who so practice in such
               corporation or a predecessor entity. (Emphasis added).

               The bill would add a third category of person eligible to receive
               stock, one who will practice such profession “within 30 days of the
               date such shares are issued.”

 New York’s Department of Health was of the same opinion, commenting that:

               The bill would amend Article 15 of the Business Corporation Law
               pertaining to professional service corporations to allow the issuance
               of shares of individuals who will engage in the practice of the
               profession within 30 days of the date such shares are issued, in
               addition to those presently so engaged… (emphasis added).

 Copies of the memoranda referenced above are collectively annexed hereto as Exhibit “2.”

        91.    Dr. Koffler has not diagnosed any human disease, pain, injury, deformity or physical

 condition for any Insured on behalf of Motion Medical PC.

        92.    Dr. Koffler has not treated any human disease, pain, injury, deformity or physical

 condition for any Insured on behalf of Motion Medical PC.

        93.    Dr. Koffler has not operated for any human disease, pain, injury, deformity or

 physical condition for any Insured on behalf of Motion Medical PC.

        94.    Dr. Koffler has not prescribed for any human disease, pain, injury, deformity or

 physical condition for any Insured on behalf of Motion Medical PC.

        95.    Dr. Koffler has never discussed any diagnosis, treatment plan, or test results




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 associated with any Insured with any of the practitioners who allegedly ordered the Fraudulent

 Services from Motion Medical PC.

        96.     Most bills submitted to GEICO through Motion Medical PC purport that Dr.

 Koffler performed the Fraudulent Services, but Dr. Koffler has never actually performed any of the

 testing services or rendered any treatment to any of the Insureds on behalf of Motion Medical PC.

        97.     Dr. Koffler never actually examined any of the Insureds on behalf of Motion Medical

 PC.

        98.     In fact, Dr. Koffler has never even physically visited the Clinic locations at which

 Motion Medical PC purportedly performed the Fraudulent Services.

        99.     Dr. Koffler has been rarely physically present in the state of New York during the

 time that Motion Medical PC has operated

        100.    At all relevant times herein, Dr. Koffler resided in Florida.

        101.    Dr. Koffler’s most recently registered residential address is in Surfside, Florida.

        102.    Dr. Koffler’s driver’s license was issued in Florida, and he possesses one or more

 vehicles registered to his name in Florida.

        103.    Dr. Koffler is registered to vote in Florida and most recently voted in 2020 in Florida.

        104.    None of bills submitted to GEICO through Motion Medical PC were for services

 actually rendered by Dr. Koffler.

        105.    Rather, to the extent that the Fraudulent Services were truly performed, they were

 performed by employees, technicians, independent contractors, or others working under the

 direction and control of the Management Defendants.




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        D.      The Defendants’ Illegal Kickback, Fee-Splitting, and Referral Arrangements

        106.    Although the Clinics ostensibly provide a range of healthcare services to Insureds

 at a single location for convenience, many of the Clinics where Motion Medical PC operates are

 actually organized as “one-stop shops” for No-Fault insurance fraud.

        107.    Many of the Clinics intentionally host several medical professional corporations,

 chiropractic professional corporations, physical therapy professional corporations and/or a

 multitude of other purported healthcare providers for the purpose of exploiting Insureds’ No-Fault

 Benefits.

        108.    In fact, GEICO has received billing from several Clinics from a “revolving door”

 of fraudulent healthcare providers, many of which start and stop operations without any purchase

 or sale of a “practice,” without any legitimate transfer of patient care from one professional to

 another, and without any legitimate reason for changes in provider names beyond circumventing

 insurance company investigations and perpetuating the fraudulent exploitation of New York’s No-

 Fault insurance protections.

        109.    For example, GEICO has received billing for purported healthcare services

 rendered at the Clinic located at 1570 Old Country Road, Westbury, New York from a “revolving

 door” of approximately 25 different healthcare providers, including billing from Motion Medical

 PC for the Fraudulent Services purportedly performed by Dr. Koffler. GEICO also received billing

 for services purportedly performed at this Clinic location from Island Medical Diagnostics, PLLC

 and Integrative Medical Wellness PC, two other professional corporations purportedly “owned”

 by Dr. Koffler.

        110.    Similarly, GEICO has received billing for purported healthcare services rendered




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 at the Clinic located at 740 Veterans Memorial Highway, Hauppauge, New York from a “revolving

 door” of approximately 25 different healthcare providers, including billing from Motion Medical

 PC for the Fraudulent Services purportedly performed by Dr. Koffler.

        111.    Similarly, GEICO has received billing for purported healthcare services rendered

 at the Clinic located at 333 Broadway, Amityville, New York from a “revolving door” of

 approximately 20 different healthcare providers, including billing from Motion Medical PC for the

 Fraudulent Services purportedly performed by Dr. Koffler.

        112.    The Management Defendants used Motion Medical PC as a vehicle to illegally

 profit from purported healthcare services performed at several of these Clinics by engaging in

 unlawful fee-splitting and financial arrangements.

        113.    To gain access to Insureds from these Clinics’ patient bases, the Defendants caused

 Motion Medical PC to enter into illegal financial arrangements with persons associated with the

 Clinics at the direction of the Management Defendants.

        114.    These illegal financial arrangements involve the payment of kickbacks and/or “pay-

 to-play” payments to the owners and controllers of the Clinics in exchange for patient referrals,

 and/or allowing unlicensed laypersons to share in the professional fees.

        115.    As such, the illegal kickbacks and/or “pay-to-play” payments made by the

 Defendants caused the owners and controllers of the various Clinics to refer their patients to

 Motion Medical PC so they could be subjected to the medically unnecessary Fraudulent Services,

 regardless of each patient’s individual symptoms, presentment, or need for additional treatment or

 diagnostic testing.

        116.    The Defendants and Motion Medical PC would not have had access to the Clinics




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 and the Insureds but for the payment of kickbacks, as the Fraudulent Services were medically

 unnecessary and had no relevance to the patient’s individual symptoms, presentment, or need for

 additional treatment or diagnostic testing.

        117.       In fact, the treating practitioners at the Clinics had no need for the Fraudulent

 Services allegedly performed by Motion Medical PC and the patients’ course of treatment was

 never altered or changed as a result of the performance of the Fraudulent Services performed by

 Motion Medical PC.

        118.       The Defendants, as well as the owners and controllers of the Clinics, knew that the

 referrals to Motion Medical PC were made without regard for the necessity of the testing or the

 Insureds’ individual symptoms or presentation.

        119.       Indeed, at virtually all of the Clinics, the Insureds had already been subjected to

 multiple other evaluations, treatments, and diagnostic tests, which rendered the Fraudulent

 Services performed by Motion Medical PC duplicative, superfluous, and provided solely for

 financial gain.

        120.       To conceal the illegal fee-splitting, kickback, and referral arrangements while

 simultaneously maintaining pervasive total control over Motion Medical PC’s operations, the

 Management Defendants arranged for Dr. Koffler and Motion Medical PC to enter into various

 bogus “lease,” “marketing” and/or other financial agreements.

        121.       For example, the Management Defendants caused Dr. Koffler and Motion Medical

 PC to enter into a “marketing” agreement with Jeffrey Rauch’s corporation, AHS Management &

 Marketing purportedly for the provision of “marketing services” in exchange for $60,000.00 per

 contract year.




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           122.   Illustrative of the fact that the agreement with AHS Management & Marketing was

 actually a sham, Dr. Koffler was unable to identify any particular marketing events or services

 provided by AHS Management & Marketing yet Motion Medical PC made payments to AHS

 Management & Marketing in excess of the contracted amount, totaling at least $117,000.00 in a

 17-month period.

           123.   In fact, AHS Management & Marketing’s purported provision of “marketing

 services” was a front to conceal the Management Defendants’ illegal activities. The Management

 Defendants actually used AHS Management & Marketing to solicit and establish illegal fee-splitting,

 kickback, and referral relationships with many of the Clinics and/or other entities to perpetrate their

 fraudulent scheme and as a vehicle through which the Defendants funneled profits received from

 their fraudulent scheme.

           124.   The Management Defendants also arranged for Dr. Koffler and Motion Medical PC

 to enter into purported “lease” agreements with Motion Medical PC as a “tenant” with many of the

 Clinics as “landlord” to disguise the Defendants’ illegal kickback payments to each of the Clinics as

 “rent.”

           125.   In fact, Motion Medical PC enters into “lease” agreements and makes purported

 “rent” payments with the Clinics based the volume of patients at the Clinics on whom Motion

 Medical PC can perform the Fraudulent Services.

           126.   In keeping with the fact that the purported “rent” payments are actually illegal

 kickback and “pay-to-play” payments, the “lease” agreements delineated exorbitant rental amounts

 for space that was utilized by Motion Medical PC infrequently and was not provided for Motion

 Medical PC’s exclusive use.




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       127.   For example:

              (i)     A “lease” agreement between Island Physical Therapy & Chiropractic
                      PLLC and Motion Medical PC required Motion Medical PC to pay a base
                      rent of $36,000.00 per annum in equal monthly installments of $3,000.00
                      plus additional rent for space located in 740 Veterans Memorial Highway,
                      Hauppauge, New York. From January 1, 2020 through July 2021, Motion
                      Medical PC generally utilized the space one to two days per month to
                      purportedly perform the Fraudulent Services subsequently billed to GEICO.

              (ii)    A “sublease” agreement between NFWC Rental Group, Ltd. and Motion
                      Medical PC required Motion Medical PC to pay a total rent of $17,760.00
                      per annum in equal monthly installments of $1,480.00 for space and
                      personnel located in 1570 Old Country Road, Westbury, New York. From
                      January 1, 2020 through December 31, 2020, Motion Medical PC generally
                      utilized the space and personnel two to three days per month to purportedly
                      perform the Fraudulent Services subsequently billed to GEICO.

              (iii)   A “sublease” agreement between NFWC Rental Group, Ltd. and Motion
                      Medical PC required Motion Medical PC to pay a total rent of $16,620.00
                      per annum in equal monthly installments of $1,385.00 for space and
                      personnel located in 56A Motor Avenue, Farmingdale, New York. From
                      January 1, 2020 through December 31, 2020, Motion Medical PC generally
                      utilized the space and personnel one to three days per month to purportedly
                      perform the Fraudulent Services subsequently billed to GEICO.

              (iv)    A “lease” agreement between Sunrise Chiropractic & Wellness and Motion
                      Medical PC required Motion Medical PC to pay a base rent of $30,000.00
                      per annum in equal monthly installments of $2,500.00 plus additional rent
                      for space located in 2260 Hewlett Avenue, Merrick, New York. From
                      October 1, 2019 through July 2021, Motion Medical PC generally utilized
                      the space one to three days per month to purportedly perform the Fraudulent
                      Services subsequently billed to GEICO.

              (v)     A “lease” agreement between Yellowstone Medical and Motion Medical
                      PC required Motion Medical PC to pay a base rent of $30,000.00 per annum
                      in equal monthly installments of $2,500.00 plus additional rent for space
                      located in 94-11 Jamaica Avenue, Woodhaven, New York. From October
                      1, 2019 through July 2021 Motion Medical PC generally utilized the space
                      zero to three days per month to purportedly perform the Fraudulent Services
                      subsequently billed to GEICO.

       128.   These “lease” arrangements ensured a steady stream of patients that could be




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 subjected to the Fraudulent Services rendered, or purported to be rendered, by Motion Medical

 PC.

        129.    Dr. Koffler – like the Management Defendants – knows that these arrangements are

 illegal and is therefore complicit in taking affirmative steps to conceal the existence of the

 fraudulent kickback, “pay-to-play,” and referral payments.

        130.    The unlawful kickback, “pay-to-play” payments, and referral arrangements are

 essential to the success of the Defendants’ fraudulent scheme, and they derive significant financial

 benefit from these arrangements. Without access to Insureds, the Defendants would not have the

 opportunity to execute the fraudulent testing and billing protocols and bill GEICO and other

 insurers for the Fraudulent Services.

        E.      The Defendants’ Fraudulent Treatment and Billing Protocols

        131.    The Defendants implemented fraudulent testing and billing protocols without

 regard to the genuine, individual medical needs of the Insureds as part of their scheme to submit

 fraudulent charges through Motion Medical PC in purposeful circumvention of the billing

 restrictions and prohibitions applicable to the Fraudulent Services as promulgated in the Fee

 Schedule.

        132.    Each patient that has, or is in, an accident, including motor vehicle accidents, is

 exposed to a unique mechanical event and their injuries are a direct result of those specific forces,

 hence their injuries are unique.

        133.    Virtually none of the Insureds involved in a vehicular accident who treated with

 Motion Medical PC presented with injuries and health problems identical to those of another

 Insured. Even so, the Defendants purported to subject each Insured to substantially the same,




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 medically unnecessary Fraudulent Services pursuant to predetermined, fraudulent protocols.

        134.       The Fraudulent Services were purportedly rendered regardless of the nature of the

 accidents, the actual medical needs of the Insureds, or the Insureds’ individual symptoms or

 presentment.

        135.       Following the purported rendering of the Fraudulent Services on each Insured, the

 Defendants fraudulently billed GEICO through Motion Medical PC.

        136.       The Defendants’ fraudulent protocols were designed to maximize the billing that

 they submitted or caused to be submitted to GEICO through Motion Medical PC, rather than to

 treat or otherwise benefit the Insureds.

        137.       The charges submitted to GEICO through Motion Medical PC were fraudulent in

 that: (i) the ROM/MT was duplicative, illusory, and medically unnecessary; (ii) the ROM/MT was

 performed – to the extent performed at all – pursuant to the Defendants’ predetermined fraudulent

 billing and treatment protocols and the improper referral and financial arrangements between and

 among the Defendants and many of the Clinics; (iii) for ROM/MT purportedly performed prior to

 October 1, 2020, the Defendants unbundled the billing for the ROM/MT to fraudulently inflate the

 charges by an order of magnitude; and (iv) for ROM/MT purportedly performed on or after

 October 1, 2020, the Defendants fraudulently appropriated a billing code to collect payments on

 non-reimbursable ROM/MT in order to circumvent the reimbursement restrictions and

 prohibitions applicable to ROM/MT as set forth in the Fee Schedule.

        138.       The Defendants established the fraudulent testing and billing protocols described

 below because they sought to illegally profit from the fraudulent billing submitted to GEICO and

 other insurers.




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               i.        The Fraudulent Range of Motion and Muscle Strength Testing

        139.     The Defendants subjected virtually every Insured referred to Motion Medical PC

 to duplicative, illusory, and medically unnecessary ROM/MT regardless of their individual

 medical needs in order to maximize the fraudulent billing submitted for each insured.

                         a.    Traditional Tests to Evaluate Range of Motion and Muscle
                               Strength

        140.     The adult human body is composed of 206 bones joined at various joints that allow

 motion between body parts. These motions include but are not limited to flexion, extension, side-

 bending and rotation.

        141.     The measurement of the capacity of a particular joint to move through its full

 physiological motion is referred to as that joint’s “range of motion.”

        142.     A traditional, or manual, range of motion test consists of a non-electronic

 measurement of the movement at the joint in comparison with an unimpaired, healthy joint. In a

 traditional range of motion test, the limb is moved passively by the patient or actively by the

 evaluating practitioner. Evaluation of the patient’s range of motion of various joints is measured

 either by sight or through the use of a manual inclinometer and/or a goniometer (i.e., devices used

 to measure angles).

        143.     Similarly, a traditional muscle strength test consists of a non-electronic

 measurement of muscle strength, which is accomplished by having the patient move a particular

 joint in a particular motion against manual resistance applied by the evaluating practitioner. For

 example, if the evaluating practitioner wanted to measure muscle strength in the muscles that flex

 or surround a patient’s knee, he/she would apply resistance against the appropriate motion.

        144.     Thorough physical evaluations performed on patients with soft-tissue trauma




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 include ROM/MT, inasmuch as these tests provide a point of reference for joint motion, injury

 assessment, and treatment planning. Unless the evaluating practitioner knows the extent of a given

 patient’s joint mobility or muscle strength impairment, the evaluating practitioner will be

 substantially limited in his/her ability to properly diagnose or treat the patient’s injuries and assess

 their response to treatment. Evaluation of range of motion and muscle strength are essential

 components of the thorough evaluation of a patient.

         145.    Since ROM/MT is conducted as an element of a soft-tissue trauma patient’s initial

 examination, as well as during virtually all follow-up examinations, the Fee Schedule provides

 that ROM/MT is to be reimbursed as a component of the initial and follow-up examinations.

         146.    Alternatively stated, healthcare practitioners cannot conduct and bill for initial

 examinations and follow-up examinations which include ROM/MT, then bill separately for

 duplicative, contemporaneously provided ROM/MT.

                         b.      The Defendants’ Range of Motion and Muscle Strength Testing
                                 was Duplicative and Medically Unnecessary

         147.    To the extent that the Insureds actually received the initial examinations and follow-

 up examinations at the Clinics that were billed to GEICO, the Insureds received manual range of

 motion tests and manual muscle strength tests during those examinations.

         148.    The charges submitted to GEICO for the manual range of motion and manual

 muscle strength tests were part and parcel of the charges that the healthcare practitioners at the

 Clinics routinely submitted or caused to be submitted for initial examinations and follow-up

 examinations.

         149.    Despite the fact that the Defendants knew that the Insureds had already undergone

 manual range of motion testing and manual muscle strength testing during their initial




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 examinations and follow-up examinations, the Defendants systematically billed for, and purported

 to provide, duplicative, illusory, and medically unnecessary ROM/MT to Insureds.

        150.    The Defendants purported to provide the computerized range of motion tests by

 placing a digital inclinometer or goniometer on various parts of the Insured’s body while the

 Insured was asked to attempt various motions and movements. The computerized test was virtually

 identical to the traditional, manual range of motion testing performed during the initial and follow-

 up examinations, except that a digital printout was obtained rather than the practitioner manually

 documenting the Insured’s range of motion.

        151.    The Defendants purported to provide the computerized muscle strength tests by

 placing a strain gauge-type measurement apparatus against a stationary object, against which the

 Insured was asked to flex, extend, or rotate three to four separate times using specific muscle

 groups that effectuate emotion at the joint tested. As with the computerized range of motion tests,

 the computerized muscle strength test was virtually identical to the traditional, manual muscle

 strength testing performed during the initial and follow-up examinations, except that a digital

 printout was obtained rather than the practitioner manually documenting the Insured’s muscle

 strength.

        152.    The information learned through the use of the computerized ROM/MT offered no

 clinical advantage over the information obtained through the traditional, manual ROM/MT that

 was an essential component of each Insured’s initial and follow-up examinations. In the relatively

 minor soft-tissue injuries allegedly sustained by the Insureds, the difference of a few percentage

 points in the Insureds’ range of motion reading or pounds of resistance in the Insureds’ muscle

 strength testing was medically meaningless, and never resulted in a change in the patient’s




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 treatment plan.

        153.       While ROM/MT can be a medically useful tool as part of research, under the

 circumstances employed by the Defendants, it represented purposeful and unnecessary duplication

 of the manual ROM/MT conducted during virtually every Insured’s initial and follow-up

 examinations with a physician.

        154.       Further to the point that the ROM/MT purportedly performed by the Defendants

 was medically noncontributory, the results of the ROM/MT purportedly performed by and through

 Motion Medical PC were typically not reviewed by the treating practitioner, adding to the

 ROM/MT’s failure to provide any diagnostic value.

        155.       The results of the ROM/MT purportedly performed by and through Motion Medical

 PC were virtually never discussed with the treating practitioner.

        156.       The results of the ROM/MT purportedly performed by and through Motion Medical

 PC were virtually never evident in the treating practitioner’s medical notes.

        157.       The results of the ROM/MT purportedly performed by and through Motion Medical

 PC were virtually never used to alter or change the patients’ course of a treatment.

        158.       The Defendants rendered the ROM/MT pursuant to a preestablished protocol that:

 (i) did not aid in the assessment and/or treatment of the Insureds; and (ii) was designed solely to

 financially enrich the Defendants.

                   ii.    The Fraudulent Range of Motion and Muscle Strength Testing Billing
                          Protocol

        159.       Not only did the Defendants deliberately purport to provide duplicative, medically

 unnecessary ROM/MT, but they also fraudulently billed for the purported provision of the

 Fraudulent Services to maximize profits by: (i) unbundling charges for the Fraudulent Services




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 purportedly rendered before October 1, 2020; and (ii) improperly billing for the non-reimbursable

 Fraudulent Services purportedly rendered on or after October 1, 2020 under an alternative CPT

 code.

         160.   The Defendants fraudulently represented that they satisfied the requirements

 prescribed by CPT guidelines in that they, among other things: (i) included signed, written reports

 interpreting the results of the ROM/MT purportedly performed when billing such services under

 CPT codes 95831 and 95851; and (ii) rendered ROM/MT services appropriate for billing under

 CPT code 99456.

         161.   In actuality, the Defendants billed GEICO and other No-Fault insurers pursuant to

 a predetermined protocol designed to circumvent the reimbursement restrictions and prohibitions

 applicable to the Fraudulent Services as promulgated in the Fee Schedule and maximize profits for

 their own financial enrichment.

                       a.      The Defendants Fraudulently Unbundled Charges for Range of
                               Motion and Muscle Strength Testing Purportedly Rendered
                               Before October 1, 2020

         162.   For ROM/MT purportedly performed prior to October 1, 2020, the Defendants

 intentionally unbundled their billing in order to maximize the fraudulent charges that they

 submitted to GEICO through Motion Medical PC.

         163.   Pursuant to the Fee Schedule in effect for services rendered prior to October 1,

 2020, when multiple units of ROM/MT were performed on the same date of service, all such

 testing should have been reported and billed under CPT code 97750.

         164.   CPT code 97750, described as “Physical performance test or measurement (e.g.,

 musculoskeletal, functional capacity), with written report, each 15 minutes,” identified a number




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 of multi-varied tests and measurements of physical performance of a select area or number of

 areas. These tests included services such as extremity testing for strength, dexterity, or stamina,

 and muscle strength testing with torque curves during isometric and isokinetic exercise, whether

 by mechanized evaluation or computerized evaluation. They also included the creation of a written

 report.

           165.   CPT code 97750 was a “time-based” code that – in the New York metropolitan area

 – allowed for a single charge of $45.71 for every 15 minutes of testing performed. Thus, if a

 provider performed 15 minutes of ROM/MT, it was permitted a single charge of $45.71 for the

 ROM/MT under CPT code 97750. If the provider performed 30 minutes of ROM/MT, it was

 permitted to submit two charges of $45.71 for the ROM/MT under CPT code 97750, resulting in

 total charges of $91.42, and so forth.

           166.   The Defendants routinely purported to provide multiple units of ROM/MT to an

 individual Insured on the same date of service.

           167.   To the extent that the Defendants actually provided the ROM/MT to those Insureds,

 the computerized ROM/MT – together – never took more than 15 minutes to perform. Thus, even

 if the ROM/MT purportedly performed by Defendants was medically necessary, the Defendants

 would have been limited to a single, time-based charge of $45.71 under CPT code 97750 for each

 date of service on which they performed ROM/MT on an Insured.

           168.   In order to maximize their fraudulent billing for the computerized ROM/MT

 purportedly performed before October 1, 2020, the Defendants unbundled what should have been

 – at most – a single charge of $45.71 under CPT code 97750 for both computerized ROM/MT

 into: (i) multiple charges of $45.75 under CPT code 95851 (for range of motion tests); and (ii)




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 multiple charges of $43.60 under CPT code 95831 (for muscle strength tests).

        169.    By unbundling what should – at most – have been a single of $45.71 under CPT

 code 97750 into multiple charges under CPT codes 95851 and 95831, the Defendants inflated the

 fraudulent ROM/MT charges that they submitted to GEICO by an order of magnitude.

        170.    Specifically, for the Fraudulent Services purportedly performed prior to October 1,

 2020, the Defendants regularly submitted billing for multiple units of ROM/MT rendered to an

 Insured on a single date of service totaling more than $950.00. The bills often consist of 12 units

 of duplicative, medically unnecessary computerized range of motion testing under CPT code

 95851 and 10 units of duplicative, medically unnecessary computerized muscle strength testing

 under CPT code 95831.

                        b.      The Defendants Fraudulently Misrepresented the Existence of
                                Written, Interpretive Reports Pertaining to the Range of
                                Motion and Muscle Strength Testing as Required Under CPT
                                Codes 95831 and 95851

        171.    Not only were the Defendants’ charges for the ROM/MT fraudulent because the

 tests were duplicative, medically unnecessary, and because the billing for the Fraudulent Services

 purportedly rendered before October 1, 2020 was fraudulently unbundled, but the charges were

 also fraudulent because they falsely represented that the Defendants prepared written reports

 interpreting the test results from the Fraudulent Services.

        172.    Pursuant to the Fee Schedule in effect for services rendered prior to October 1,

 2020, when a healthcare provider submitted a charge for computerized range of motion testing

 using CPT code 95851 or for computerized muscle strength testing using CPT code 95831, the

 provider represented that it had prepared a written report interpreting the data obtained from the

 ROM/MT.




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            173.   The CPT Assistant stated that “[i]nterpretation of the results with preparation of a

 separate, distinctly, identifiable, signed written report is required when reporting [CPT] codes

 95851 and 95852.”

            174.   The CPT Assistant also stated that “[t]he language included in the code descriptor

 for use of these codes indicates, the preparation of a separate written report of the findings as a

 necessary component of the procedure” when using CPT code 95831 to charge for muscle strength

 testing.

            175.   Thus, a report containing little more than the results obtained from ROM/MT was

 insufficient to meet the standards of an interpretation of the results as described in the CPT

 Assistant.

            176.   Though the Defendants routinely submitted billing for computerized ROM/MT

 using CPT codes 95831 and 95851, the Defendants did not prepare written reports interpreting the

 data obtained from the tests.

            177.   To the extent Defendants included any written information accompanying the

 ROM/MT results, such information was limited to generic procedural explanations and boilerplate

 medical necessity of the ROM/MT performed, but did not include interpretation of the test results.

            178.   Therefore, even if the Defendants had satisfied the other requirements to submit

 their billing for ROM/MT under CPT codes 95831 and 95851 – and they did not – the Defendants’

 billing still would not be in compliance with the Fee Schedule due to their failure to submit a

 separate, distinctly identifiable, and signed written report addressing the individualized deficits as

 they relate to the injuries sustained and the required treatment for each patient.

            179.   The Defendants did not prepare individualized written reports interpreting the data




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 obtained from the Fraudulent Services because the tests were not intended to impact any Insured’s

 course of treatment. Rather, to the extent they were performed at all, the ROM/MT was performed

 as part of the Defendants’ predetermined fraudulent testing and billing protocol and was designed

 solely to financially enrich the Defendants at the expense of the Insureds and No-Fault insurers,

 including GEICO.

                       c.      The Defendants Fraudulently Submitted Charges Under an
                               Inappropriate CPT Code to Circumvent the Fee Schedule’s
                               Reimbursement Restrictions and Prohibitions for Range of
                               Motion and Muscle Strength Testing Purportedly Rendered on
                               or After October 1, 2020

        180.    Not only did the Defendants deliberately purport to provide duplicative, medically

 unnecessary ROM/MT for which they unbundled the billing and failed to meet the interpretive

 reporting requirements, but when reimbursement values for CPT codes 95831 and 95851 were

 eliminated by the Fee Schedule for ROM/MT performed on or after October 1, 2020, the

 Defendants also knowingly and fraudulently utilized an inappropriate billing code to charge

 GEICO for the Fraudulent Services in purposeful circumvention of the Fee Schedule’s

 reimbursement restrictions and prohibitions on ROM/MT.

        181.    In 2018, the American Medical Association’s Relative Value Update Committee

 (“RUC”) made recommendations to the Centers for Medicare & Medicaid Services (“CMS”)

 regarding the relative value units (“RVU”) (i.e., reimbursement rates) for several CPT codes,

 including CPT code 95831 which covers muscle strength testing.

        182.    In its May 2018 recommendation to permanently delete CPT code 95831, the RUC

 reported that various medical groups “do not believe that there is an appropriate scenario for

 physicians to separately report manual muscle testing.” In other words, muscle strength testing is




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 performed as an inherent element of a patient’s initial and follow-up examinations and should not

 be billed as a separate procedure under CPT code 95831.

        183.    Additionally, the RUC noted in another recommendation to the CMS that most

 Medicare claims for CPT code 95831 were being reported from one geographic location,

 concluding that there was “possible inappropriate reporting of CPT code 95831.” In other words,

 the billing code used for muscle strength testing was subject to fraud and abuse.

        184.    In line with these recommendations, CPT code 95831 was subsequently deleted

 from the American Medical Association’s 2020 Current Procedural Terminology code set.

        185.    Not only did the New York State Workers’ Compensation Board also adopt the

 changes in its Fee Schedule insofar as it reduced the RVU for CPT code 95831 to $0.00, but it

 likewise reduced the RVUs for CPT codes 95851 (for range of motion testing) and 97750 (the

 “time-based” code for ROM/MT) to $0.00, effectively eliminating these codes and prohibiting

 reimbursement for ROM/MT. These changes became effective in the Fee Schedule on October 1,

 2020 for ROM/MT performed on or after that date (the “Revised Fee Schedule”).

        186.    Despite the Revised Fee Schedule’s reimbursement prohibition on ROM/MT, the

 Defendants continued to purportedly perform ROM/MT and bill GEICO for the Fraudulent

 Services from October 2020 through the present pursuant to their predetermined testing and billing

 protocol.

        187.    On or about October 1, 2020, Defendants ceased billing GEICO for ROM/MT

 under CPT codes 95831 and 95851, and knowingly and fraudulently began using CPT code 99456

 to continue to bill GEICO for substantially the same ROM/MT that they performed prior to the

 restrictions imposed by the Revised Fee Schedule. The Defendants did so to maximize the




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 fraudulent charges that they could submit to GEICO through Motion Medical PC and to obtain

 reimbursement to which they were not entitled.

           188.   CPT code 99456 permits reimbursement for a “[w]ork related or medical disability

 examination by other than a treating physician.” Such an examination must include the: (i)

 completion of a medical history commensurate with the patient’s condition; (ii) performance of an

 examination commensurate with the patient’s condition; (iii) formulation of a diagnosis,

 assessment of capabilities and stability, and calculation of impairment; (iv) development of a

 future medical treatment plan; and (v) completion of necessary documentation/certificates and

 report.

           189.   Despite the Defendants routinely billing GEICO under CPT code 99456 for

 ROM/MT they characterized as “Disability Impairment Assessments,” the “Disability Impairment

 Assessments” purportedly performed by Defendants consisted primarily of ROM/MT not

 substantially different from the ROM/MT purportedly performed by Defendants prior to October

 1, 2020, apart from a minimal, superficial form “report” and “orthopedic tests” appended to the

 ROM/MT data. These additions failed to meaningfully differentiate the ROM/MT from that which

 was previously performed, nor were they sufficient to meet the context and examination

 requirements set forth under CPT code 99456.

           190.   The “Disability Impairment Assessments” purportedly rendered to Insureds by the

 Defendants failed to adhere to the requirements of CPT code 99456 because: (i) the “Disability

 Impairment Assessments” were performed on virtually every Insured for “certification of the

 injuries determined to date” and to “establish a baseline of functionality and impairment to be

 compared to future studies” rather than to establish baseline information for life or disability




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 insurance certification in a work-related context; (ii) the actual examination purportedly performed

 on each Insured was substantially identical across and among virtually every Insured, thus they

 did not constitute examinations commensurate with each patient’s unique conditions and medical

 needs; and (iii) the attached “report” and “orthopedic tests” utilized generic, boilerplate language

 that failed to constitute a meaningful formulation of a diagnosis, assessment of capabilities and

 stability, calculation of impairment, and development of a future medical treatment plan.

        191.    By billing to GEICO what should not have been billed under CPT code 99456

 instead of completely ceasing to bill for ROM/MT in compliance with the Revised Fee Schedule,

 the Defendants fraudulently collected and/or intended to collect reimbursement from GEICO for

 otherwise non-reimbursable ROM/MT.

        192.    Specifically, for “Disability Impairment Assessments” consisting primarily of non-

 reimbursable ROM/MT purportedly rendered to Insureds on or after October 1, 2020, the

 Defendants regularly submitted charges of $685.00 for each patient’s initial appointment and

 $585.00 for each follow-up appointment.

        193.    Illustrative of the Defendants’ fraudulent billing protocol is the fact that a multitude

 of Insureds who were subjected to ROM/MT by Defendants prior to October 1, 2020 were also

 subjected to “Disability Impairment Assessments” on or after October 1, 2020. In each of these

 instances, the Defendants fraudulently submitted unbundled charges to GEICO under CPT codes

 95831 and 95851 for ROM/MT purportedly performed prior to October 1, 2020, and fraudulently

 billed GEICO under CPT code 99456 for substantially the same ROM/MT disguised as a

 “Disability Impairment Assessment” purportedly performed on or after October 1, 2020.

        194.    For example:




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             (i)     On May 12, 2020, June 16, 2020, and October 6, 2020, an Insured named
                     EE was purportedly provided with computerized ROM/MT at the Clinic
                     located at 44-20 Francis Lewis Boulevard, Bayside, which was billed
                     through Motion Medical PC. For the ROM/MT purportedly performed on
                     the two dates of service prior to October 1, 2020, Defendants billed GEICO
                     under CPT codes 95851 and 95831 for a total of $985.00 per appointment.
                     For substantially the same ROM/MT purportedly performed as a “Disability
                     Impairment Assessment” on the date of service after October 1, 2020,
                     Motion Medical PC billed GEICO under CPT Code 99456 for a total of
                     $685.00.

             (ii)    On July 16, 2020, September 10, 2020, November 5, 2020, December 29,
                     2020, and March 4, 2021, an Insured named CS was purportedly provided
                     with computerized ROM/MT at the Clinic located at 94-11 Jamaica
                     Avenue, Woodhaven, which was billed through Motion Medical PC. For
                     the ROM/MT purportedly performed on the two dates of service prior to
                     October 1, 2020, Defendants billed GEICO under CPT codes 95851 and
                     95831 for a total of $985.00 per appointment. For substantially the same
                     ROM/MT purportedly performed as a “Disability Impairment Assessment”
                     on the three dates of service after October 1, 2020, Motion Medical PC
                     billed GEICO under CPT Code 99456 for a total of $685.00 for the
                     November 5, 2020 appointment, and a total of $585.00 for each
                     appointment thereafter.

             (iii)   On June 23, 2020, July 21, 2020, November 5, 2020, February 25, 2021,
                     and April 29, 2021, an Insured named EK was purportedly provided with
                     computerized ROM/MT at the Clinic located at 2260 Hewlett Avenue,
                     Merrick, which was billed through Motion Medical PC. For the ROM/MT
                     purportedly performed on the two dates of service prior to October 1, 2020,
                     Defendants billed GEICO under CPT codes 95851 and 95831 for a total of
                     $985.00 per appointment. For substantially the same ROM/MT purportedly
                     performed as a “Disability Impairment Assessment” on the three dates of
                     service after October 1, 2020, Motion Medical PC billed GEICO under CPT
                     Code 99456 for a total of $685.00 for the November 5, 2020 appointment,
                     and a total of $585.00 for each appointment thereafter.

             (iv)    On August 17, 2020, September 21, 2020, November 23, 2020, December
                     21, 2020, and January 18, 2021, an Insured named KK was purportedly
                     provided with computerized ROM/MT at the Clinic located at 56A Motor
                     Avenue, Farmingdale, which was billed through Motion Medical PC. For
                     the ROM/MT purportedly performed on the two dates of service prior to
                     October 1, 2020, Defendants billed GEICO under CPT codes 95851 and
                     95831 for a total of $985.00 per appointment. For substantially the same
                     ROM/MT purportedly performed as a “Disability Impairment Assessment”




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                     on the three dates of service after October 1, 2020, Motion Medical PC
                     billed GEICO under CPT Code 99456 for a total of $685.00 for the
                     November 23, 2020 appointment, and a total of $585.00 for each
                     appointment thereafter.

             (v)     On July 16, 2020, August 12, 2020, September 8, 2020, November 10,
                     2020, January 12, 2021, February 9, 2021, March 9, 2021, April 13, 2021,
                     May 11, 2021, and June 8, 2021, an Insured named AG was purportedly
                     provided with computerized ROM/MT at the Clinic located at 44-20 Francis
                     Lewis Boulevard, Bayside, which was billed through Motion Medical PC.
                     For the ROM/MT purportedly performed on the three dates of service prior
                     to October 1, 2020, Defendants billed GEICO under CPT codes 95851 and
                     95831 for a total of $985.00 per appointment. For substantially the same
                     ROM/MT purportedly performed as a “Disability Impairment Assessment”
                     on the seven dates of service after October 1, 2020, Motion Medical PC
                     billed GEICO under CPT Code 99456 for a total of $685.00 for the
                     November 10, 2020 appointment, and a total of $585.00 for each
                     appointment thereafter.

             (vi)    On July 1, 2020, July 29, 2020, October 26, 2020, December 10, 2020, and
                     March 22, 2021, and July 16, 2021, an Insured named FT was purportedly
                     provided with computerized ROM/MT at the Clinic located at 255
                     Broadway, Lynbrook, which was billed through Motion Medical PC. For
                     the ROM/MT purportedly performed on the two dates of service prior to
                     October 1, 2020, Defendants billed GEICO under CPT codes 95851 and
                     95831 for a total of $985.00 per appointment. For substantially the same
                     ROM/MT purportedly performed as a “Disability Impairment Assessment”
                     on the four dates of service after October 1, 2020, Motion Medical PC billed
                     GEICO under CPT Code 99456 for a total of $685.00 for the October 26,
                     2020 appointment, and a total of $585.00 for each appointment thereafter.

             (vii)   On March 11, 2020, May 12, 2020, June 16, 2020, July 16, 2020, August
                     12, 2020, October 6, 2020, November 10, 2020, January 12, 2021, and
                     February 9, 2021, an Insured named DW was purportedly provided with
                     computerized ROM/MT at the Clinic located at 44-20 Francis Lewis
                     Boulevard, Bayside, which was billed through Motion Medical PC. For the
                     ROM/MT purportedly performed on the five dates of service prior to
                     October 1, 2020, Defendants billed GEICO under CPT codes 95851 and
                     95831 for a total of $985.00 per appointment. For substantially the same
                     ROM/MT purportedly performed as a “Disability Impairment Assessment”
                     on the four dates of service after October 1, 2020, Motion Medical PC billed
                     GEICO under CPT Code 99456 for a total of $685.00 for the October 6,
                     2020 appointment, and a total of $585.00 for each appointment thereafter.




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               (viii) On September 3, 2020, November 11, 2020, January 7, 2021, February 4,
                      2021, and April 1, 2021, an Insured named VL was purportedly provided
                      with computerized ROM/MT at the Clinic located at 474 Fulton Avenue,
                      Suite 102, Hempstead, which was billed through Motion Medical PC. For
                      the ROM/MT purportedly performed on the date of service prior to October
                      1, 2020, Defendants billed GEICO under CPT codes 95851 and 95831 for
                      a total of $985.00. For substantially the same ROM/MT purportedly
                      performed as a “Disability Impairment Assessment” on the four dates of
                      service after October 1, 2020, Motion Medical PC billed GEICO under CPT
                      Code 99456 for a total of $685.00 for the November 11, 2020 appointment,
                      and a total of $585.00 for each appointment thereafter.

               (ix)   On February 7, 2020, March 6, 2020, June 19, 2020, October 2, 2020, and
                      November 6, 2020, an Insured named AL was purportedly provided with
                      computerized ROM/MT at the Clinic located at 131 Old Country Road,
                      Hicksville, which was billed through Motion Medical PC. For the ROM/MT
                      purportedly performed on the three dates of service prior to October 1, 2020,
                      Defendants billed GEICO under CPT codes 95851 and 95831 for a total of
                      $985.00 per appointment. For substantially the same ROM/MT purportedly
                      performed as a “Disability Impairment Assessment” on the two dates of
                      service after October 1, 2020, Motion Medical PC billed GEICO under CPT
                      Code 99456 for a total of $685.00 per appointment.

               (x)    On October 28, 2019, November 25, 2019, January 15, 2020, September
                      28, 2020, March 22, 2021, April 19, 2021, May 20, 2021, and July 8, 2021,
                      an Insured named PT was purportedly provided with computerized
                      ROM/MT at the Clinic located at 255 Broadway, Lynbrook, which was
                      billed through Motion Medical PC. For the ROM/MT purportedly
                      performed on the four dates of service prior to October 1, 2020, Defendants
                      billed GEICO under CPT codes 95851 and 95831 for a total of $985.00 per
                      appointment. For substantially the same ROM/MT purportedly performed
                      as a “Disability Impairment Assessment” on the four dates of service after
                      October 1, 2020, Motion Medical PC billed GEICO under CPT Code 99456
                      for a total of $685.00 for the March 22, 2021 appointment, and a total of
                      $585.00 for each appointment thereafter.

        195.   In sum, the Defendants fraudulently submitted billing under CPT code 99456 to

 conceal the fact that they continued to bill GEICO for ROM/MT in purposeful circumvention of

 the reimbursement restrictions and prohibitions applicable to ROM/MT in the Revised Fee

 Schedule. In doing so, the Defendants compromised individualized, genuine patient care,




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 defrauded GEICO and other No-Fault insurers, and exploited New York’s No-Fault protections.

 III.   The Fraudulent Billing the Defendants Submitted or Caused to be Submitted to
        GEICO

        196.   To support their fraudulent charges, the Defendants systematically submitted or

 caused to be submitted thousands of bills, NF-3s, HCFA-1500 forms, and/or treatment reports

 through Motion Medical PC to GEICO seeking payment for the Fraudulent Services for which the

 Defendants were not entitled to receive payment.

        197.   The bills, NF-3s, HCFA-1500 forms, and treatment reports submitted to GEICO by

 and on behalf of the Defendants were false and misleading in the following material respects:

               (i)     The bills, NF-3s, HCFA-1500 forms, and treatment reports uniformly
                       misrepresented to GEICO that Motion Medical PC is lawfully licensed, and
                       therefore, eligible to receive No-Fault Benefits pursuant to Insurance Law
                       § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In fact, Motion Medical
                       PC is not properly licensed in that it is controlled by non-physicians and has
                       a nominal physician-owner who does not practice medicine through the
                       professional corporation.

               (ii)    The bills, NF-3s, HCFA-1500 forms, and treatment reports uniformly
                       misrepresented to GEICO that Motion Medical PC is lawfully licensed, and
                       therefore, eligible to receive No-Fault Benefits pursuant to Insurance Law
                       § 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In fact, Motion Medical
                       PC engaged in illegal fee-splitting, kickback, and referral arrangements.

               (iii)   The bills, NF-3s, HCFA-1500 forms, and treatment reports uniformly
                       misrepresented to GEICO that the Fraudulent Services were actually
                       performed, and that the Fraudulent Services were medically necessary. In
                       fact, the Fraudulent Services are not medically necessary and are performed
                       as part of a predetermined fraudulent testing and billing protocol designed
                       solely to financially enrich the Defendants, rather than to genuinely address
                       the medical needs of the Insureds.

               (iv)    The bills, NF-3s, HCFA-1500 forms, and treatment reports uniformly
                       misrepresented and exaggerated the level of service and the nature of the
                       service that was purportedly provided.




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 IV.     The Defendants’ Fraudulent Concealment and GEICO’s Justifiable Reliance

         198.    The Defendants were legally and ethically obligated to act honestly and with integrity

 in connection with the billing that they submitted, or caused to be submitted, to GEICO.

         199.    To induce GEICO to promptly pay the fraudulent charges for the Fraudulent

 Services, the Defendants systemically concealed their fraud and went to great lengths to accomplish

 this concealment.

         200.    Specifically, the Defendants knowingly misrepresented and concealed facts in an

 effort to prevent discovery that Motion Medical PC was in violation of licensing laws and engaged

 in illegal fee-splitting and kickback arrangements, and therefore are ineligible to bill for or collect

 No-Fault Benefits.

         201.    For example, the Defendants misrepresented ownership of and control over Motion

 Medical PC in filings with the New York State Department of Education (“DOE”), so as to (i)

 induce the DOE to issue the licenses required to permit Motion Medical PC to engage in the

 practice of a licensed profession; (ii) induce the DOE to continue to recognize Motion Medical PC

 as being legally organized and authorized to practice its respective profession; and/or (iii) induce

 the DOE to allow Dr. Koffler to continue to lawfully practice his profession, despite the control of

 his license by unlicensed laypersons.

         202.    The Defendants also entered into various financial arrangements between and

 among Motion Medical PC and the Clinics that were designed to, and did, conceal their true

 ownership of and control over Motion Medical PC, as well as their unlawful referral arrangements

 and illegal fee-splitting.

         203.    Furthermore, the billing and supporting documentation submitted by the




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 Defendants for the Fraudulent Services, when viewed in isolation, does not reveal its fraudulent

 nature.

           204.   The Defendants further fraudulently billed GEICO, after October 1, 2020, by

 disguising as a “Disability Impairment Assessment” their billing for substantially the same

 ROM/MT billed previously, in order to circumvent the changes to the Fee Schedule.

           205.   The Defendants knowingly misrepresented and concealed facts to prevent GEICO

 from discovering that the Fraudulent Services were duplicative, medically unnecessary, illusory,

 and otherwise non-reimbursable and were performed pursuant to fraudulent predetermined

 protocols designed to maximize the charges that could be submitted to GEICO rather than to

 benefit the Insureds who were subjected to them.

           206.   In every bill that the Defendants submitted or caused to be submitted, the

 Defendants uniformly concealed the fact that the Defendants misrepresented and exaggerated the

 level and nature of the services purportedly provided, inflated the billing to GEICO, and otherwise

 billed GEICO for non-reimbursable services.

           207.   In furtherance of the fraudulent scheme, the Defendants hired law firms to pursue

 collection of the fraudulent charges from GEICO and other insurers. These law firms routinely filed

 expensive and time-consuming litigation against GEICO and other insurers if the charges were not

 promptly paid in full.

           208.   In accordance with the No-Fault Laws and GEICO’s standard office practices and

 procedures, GEICO either: (i) timely and appropriately denied the pending claims for No-Fault

 Benefits submitted through the Defendants; or (ii) timely issued requests for additional verification

 with respect to all of the pending claims for No-Fault Benefits submitted through the Defendants,




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 and, therefore, GEICO’s time to pay or deny the claims has not yet expired.

        209.    GEICO is under statutory and contractual obligation to promptly and fairly process

 claims within 30 days. The facially valid documents submitted to GEICO in support of the fraudulent

 charges at issue, combined with the material misrepresentations and fraudulent litigation activity

 described above, were designed to and did cause GEICO to rely upon them. As a result, GEICO

 incurred damages of more than $702,900.00 based upon the fraudulent charges.

        210.    Based upon the Defendants’ material misrepresentations and other affirmative acts

 to conceal their fraud from GEICO, GEICO did not discover and could not reasonably have

 discovered that its damages were attributable to fraud until shortly before it filed this Complaint.

                                  FIRST CAUSE OF ACTION
                                     Against All Defendants
                       (Declaratory Judgment-28 U.S.C. §§ 2201 and 2202)

        211.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

        212.    There is an actual case in controversy between GEICO and the Defendants regarding

 more than $2,230,000.00 in pending fraudulent billing for the Fraudulent Services that has been

 submitted to GEICO under the name of Motion Medical PC.

        213.    The Defendants have no right to receive payment for any pending bills submitted

 to GEICO on behalf of Motion Medical PC because the Fraudulent Services billed are not

 medically necessary and are provided – to the extent provided at all – pursuant to predetermined

 fraudulent testing and billing protocols designed solely to financially enrich the Defendants, rather

 than to treat or otherwise benefit the Insureds who were purportedly subjected to them.

        214.    The Defendants have no right to receive payment for any pending bills submitted to




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 GEICO on behalf of Motion Medical PC because Motion Medical PC is fraudulently incorporated,

 unlawfully controlled by unlicensed laypersons and, therefore, ineligible to bill for or to collect

 No-Fault Benefits.

        215.       The Defendants have no right to receive payment for any pending bills submitted to

 GEICO on behalf of Motion Medical PC because the Defendants engage in illegal fee-splitting and

 kickback arrangements and, therefore, Motion Medical PC is ineligible to bill for or to collect No-

 Fault Benefits.

        216.       The Defendants have no right to receive payment for any pending bills submitted to

 GEICO on behalf of Motion Medical PC because the billing codes used for the Fraudulent Services

 misrepresent and exaggerate the level of services that are purportedly provided in order to inflate

 the charges submitted to GEICO and otherwise bill for non-reimbursable services in circumvention

 of the reimbursement restrictions and prohibitions in the Fee Schedule.

        217.       The Defendants have no right to receive payment for any pending bills submitted

 to GEICO on behalf of Motion Medical PC because the alleged owner of Motion Medical PC does

 not practice through the professional corporation as physician-owners are required to do under

 New York law and, therefore, Motion Medical PC is ineligible to bill for or to collect No-Fault

 Benefits.

        218.       Accordingly, GEICO requests a judgment pursuant to the Declaratory Judgment

 Act, 28 U.S.C. §§ 2201 and 2202, declaring that:

                   (i)    the Defendants have no right to receive payment for any pending bills
                          submitted to GEICO under the name of Motion Medical PC because the
                          Fraudulent Services are medically unnecessary and ordered pursuant to
                          fraudulent, predetermined protocols designed solely to maximize charges to
                          GEICO and other insurers, not because they are medically necessary or




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                        designed to facilitate the treatment of or otherwise benefit the Insureds who
                        purportedly have been subjected to them;

                (ii)    the Defendants have no right to receive payment for any pending bills
                        submitted to GEICO under the name of Motion Medical PC because Motion
                        Medical PC is unlawfully owned and controlled by non-physicians and
                        illegally shares fees with them and, therefore, is ineligible to bill for or to
                        collect No-Fault Benefits;

                (iii)   the Defendants have no right to receive payment for any pending bills
                        submitted to GEICO under the name of Motion Medical PC because Motion
                        Medical PC engages in illegal fee-splitting, kickback, and referral
                        arrangements and, therefore, is ineligible to bill for or to collect No-Fault
                        Benefits;

                (iv)    the Defendants have no right to receive payment for any pending bills
                        submitted to GEICO under the name of Motion Medical PC because the CPT
                        codes used for the Fraudulent Services misrepresent and exaggerate the
                        level of services that purportedly are provided in order to inflate the charges
                        submitted to GEICO and otherwise bill GEICO for non-reimbursable
                        services in circumvention of the reimbursement restrictions and
                        prohibitions in the Fee Schedule; and

                (v)     the Defendants have no right to receive payment for any pending bills
                        submitted to GEICO because the alleged owner of Motion Medical PC does
                        not practice through the professional corporation as physician-owners are
                        required to do under New York law and, therefore, Motion Medical PC is
                        ineligible to bill for or to collect No-Fault Benefits.

                                SECOND CAUSE OF ACTION
     Against Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing
                           (Violation of RICO, 18 U.S.C. § 1962(c))

        219.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

        220.    Motion Medical PC is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

 § 1961(4), that engages in activities which affect interstate commerce.

        221.    Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing

 knowingly have conducted and/or participated, directly or indirectly, in the conduct of Motion




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 Medical PC’s affairs through a pattern of racketeering activity consisting of repeated violations of

 the federal mail fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to

 submit or cause to be submitted thousands of fraudulent charges on a continuous basis for more

 than two years seeking payments that Motion Medical PC was not eligible to receive under the

 No-Fault Laws because: (i) it was unlawfully owned and controlled by unlicensed laypersons and

 had a nominal physician-owner who did not practice medicine through the professional

 corporation; (ii) it engaged in unlawful referral and fee-splitting arrangements with unlicensed

 laypersons in contravention of New York law; (iii) the billed-for-services were not medically

 necessary, were not provided for genuine patient care, and were performed and billed pursuant to

 a predetermined, fraudulent testing and billing protocol designed solely to enrich the Defendants;

 and (iv) the billing codes used for the services misrepresented and exaggerated the level of services

 that purportedly were provided in order to inflate the charges that could be submitted. The

 fraudulent bills and corresponding mailings submitted to GEICO that comprise the pattern of

 racketeering activity identified through the date of this Complaint are described, in part, in the

 chart annexed hereto as Exhibit “1.”

        222.    Motion Medical PC’s business is racketeering activity, inasmuch as the enterprise

 exists for the purpose of submitting fraudulent charges to insurers. The predicate acts of mail fraud

 are the regular way in which Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management &

 Marketing operated Motion Medical PC, inasmuch as Motion Medical PC never was eligible to

 bill for or collect No-Fault Benefits, and acts of mail fraud therefore were essential in order for

 Motion Medical PC to function. Furthermore, the intricate planning required to carry out and

 conceal the predicate acts of mail fraud implies a threat of continued criminal activity, as does the




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 fact that Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing continue to

 attempt collection on the fraudulent billing submitted through Motion Medical PC to the present

 day.

            223.    Motion Medical PC is engaged in inherently unlawful acts, inasmuch as its very

 corporate existence is an unlawful act, considering that it is fraudulently incorporated, owned and

 controlled        by   non-physicians,   and   its   existence   therefore   depends   on   continuing

 misrepresentations made to the New York State Department of Education and the New York State

 Department of State. Motion Medical PC likewise is engaged in inherently unlawful acts inasmuch

 as it continues to attempt collection on fraudulent billing submitted to GEICO and other insurers.

 These inherently unlawful acts are taken by Motion Medical PC in pursuit of inherently unlawful

 goals – namely, the theft of money from GEICO and other insurers through fraudulent No-Fault

 billing.

            224.    GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $702,900.00 pursuant to the fraudulent bills submitted

 by Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing through Motion

 Medical PC.

            225.    By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.




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                                THIRD CAUSE OF ACTION
     Against Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing
                           (Violation of RICO, 18 U.S.C. § 1962(d))

        226.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

        227.    Motion Medical PC is an ongoing “enterprise,” as that term is defined in 18 U.S.C.

 § 1961(4), that engages in activities which affect interstate commerce.

        228.    Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing are

 employed by and/or associated with the Motion Medical PC enterprise.

        229.    Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing

 knowingly have agreed, combined and conspired to conduct and/or participate, directly or

 indirectly, in the conduct of Motion Medical PC enterprise’s affairs, through a pattern of

 racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

 § 1341, based upon the use of the United States mails to submit or cause to be submitted thousands

 of fraudulent charges seeking payments that Motion Medical PC was not eligible to receive under

 the No-Fault Laws because: (i) it was owned and controlled by unlicensed laypersons and had a

 nominal physician-owner who did not practice medicine through the professional corporation; (ii)

 it engaged in unlawful referral and fee-splitting arrangements with unlicensed laypersons in

 contravention of New York law; (iii) the billed-for-services were not medically necessary, were

 not provided for genuine patient care, and were performed and billed pursuant to a predetermined,

 fraudulent testing and billing protocol designed solely to enrich the Defendants; and (iv) the billing

 codes used for the services misrepresented and exaggerated the level of services that purportedly

 were provided in order to inflate the charges that could be submitted. The fraudulent bills and




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 corresponding mailings submitted to GEICO that comprise the pattern of racketeering activity

 identified through the date of this Complaint are described, in part, in the chart annexed hereto as

 Exhibit “1.”

           230.   Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing knew

 of, agreed to, and acted in furtherance of the common and overall objective (i.e., to defraud GEICO

 and other insurers of money) by submitting or facilitating the submission of the fraudulent charges

 to GEICO.

           231.   GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $702,900.00 pursuant to the fraudulent bills submitted

 by Dr. Koffler, Sari Rauch, Jeffrey Rauch, and AHS Management & Marketing through Motion

 Medical PC.

           232.   By reason of its injury, GEICO is entitled to treble damages, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. §1964(c), and any other relief the Court deems just and

 proper.

                                   FOURTH CAUSE OF ACTION
                                      Against All Defendants
                                      (Common Law Fraud)

           233.   GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

           234.   The Defendants intentionally and knowingly made false and fraudulent statements

 of material fact to GEICO and concealed material facts from GEICO in the course of their

 submission of thousands of fraudulent charges seeking payment for the Fraudulent Services.

           235.   The false and fraudulent statements of material fact and acts of fraudulent




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 concealment include: (i) in every claim, the representation that Motion Medical PC was properly

 licensed, and therefore, eligible to receive No-Fault Benefits pursuant to Insurance Law §

 5102(a)(1) and 11 N.Y.C.R.R. § 65-3.16(a)(12), when in fact it was fraudulently incorporated and

 actually owned and controlled by unlicensed laypersons, and which had a nominal physician-owner

 who did not practice medicine through the professional corporation; (ii) in every claim, the

 representation that Motion Medical PC was properly licensed, and therefore, eligible to receive No-

 Fault Benefits pursuant to Insurance Law § 65-3.16(a)(12), when in fact the professional corporation

 engaged in illegal fee-splitting, kickback, and referral arrangements; (iii) in every claim, the

 representation that the billed for services were medically necessary, when in fact the billed for

 services were not medically necessary or reimbursable and – to the extent that they were performed

 at all – were provided and billed pursuant to predetermined, fraudulent protocols designed solely to

 enrich the Defendants; and (iv) in every claim, the representation that the charges were appropriate

 and consistent with the service provided, when in fact the charges exaggerated the level of service

 and the nature of the service that was purportedly provided.

        236.    The Defendants intentionally made the above-described false and fraudulent

 statements and concealed material facts in a calculated effort to induce GEICO to pay charges

 submitted through Motion Medical PC that were not compensable under the No-Fault laws.

        237.    GEICO has been injured in its business and property by reason of the above-

 described conduct in that it has paid at least $702,900.00 pursuant to the fraudulent bills submitted

 by the Defendants through Motion Medical PC.

        238.    The Defendants’ extensive fraudulent conduct demonstrates a high degree of moral

 turpitude and wanton dishonestly that entitles GEICO to recover punitive damages.




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        239.    Accordingly, by virtue of the foregoing, GEICO is entitled to compensatory and

 punitive damages, together with interests and costs, and any other relief that the Court deems just

 and proper.

                                   FIFTH CAUSE OF ACTION
                                      Against All Defendants
                                       (Unjust Enrichment)

        240.    GEICO incorporates, as though fully set forth herein, each and every allegation in

 the paragraphs set forth above.

        241.    As set forth above, the Defendants have engaged in improper, unlawful, and/or unjust

 acts, all to the harm and detriment of GEICO.

        242.    When GEICO paid the bills and charges submitted by or on behalf of Motion

 Medical PC for No-Fault Benefits, it reasonably believed that it was legally obligated to make such

 payments based on the Defendants’ improper, unlawful, and/or unjust acts.

        243.    The Defendants have been enriched at GEICO’s expense by GEICO’s payments,

 which constituted a benefit that the Defendants voluntarily accepted notwithstanding their improper,

 unlawful, and unjust billing scheme.

        244.    The Defendants’ retention of GEICO’s payments violates fundamental principles of

 justice, equity, and good conscience.

        245.    By reason of the above, the Defendants have been unjustly enriched in an amount to

 be determined at trial, but in no event less than $702,900.00

                                          JURY DEMAND

        246.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury.




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        WHEREFORE, Plaintiffs Government Employees Insurance Company, GEICO

 Indemnity Company, GEICO General Insurance Company, and GEICO Casualty Company

 demand that a judgment be entered in their favor:

        A.      On the First Cause of Action against the Defendants, a declaration pursuant to the

 Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Motion Medical PC has no right to

 receive payment for any pending bills, totaling approximately $2,230,000.00 submitted to GEICO;

        B.      On the Second Cause of Action against Dr. Koffler, Sari Rauch, Jeffrey Rauch, and

 AHS Management & Marketing, compensatory damages in favor of GEICO in an amount to be

 determined at trial but in no event less than $702,900.00, together with treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        C.      On the Third Cause of Action against Dr. Koffler, Sari Rauch, Jeffrey Rauch, and

 AHS Management & Marketing, compensatory damages in favor of GEICO in an amount to be

 determined at trial but in no event less than $702,900.00, together with treble damages, costs, and

 reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c) plus interest;

        D.      On the Fourth Cause of Action against the Defendants, compensatory damages in

 favor of GEICO in an amount to be determined at trial but in no event less than $702,900.00,

 together with punitive damages, costs, interest, and such other and further relief as this Court

 deems just and proper; and

        E.      On the Fifth Cause of Action against the Defendants, compensatory damages in

 favor of GEICO in an amount to be determined at trial but in no event less than $702,900.00,

 together with costs, interest and such other and further relief as this Court deems just and proper.




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 Dated: October 21, 2021
        Uniondale, New York

                                    RIVKIN RADLER LLP


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